                                                                                                                  Case 12-46295-rfn11 Doc 70 Filed 03/01/13                                                      Entered 03/01/13 15:31:53                                           Page 1 of 15
                                                                                                        B6F (Official Form 6F) (12/07)

                                                                                                                 Latitude Solutions, Inc.
                                                                                                         In re __________________________________________,                                                                                 12-46295-rfn-7
                                                                                                                                                                                                                               Case No. _________________________________
                                                                                                                                        Debtor                                                                                                                             (If known)

                                                                                                              SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                     State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority
                                                                                                         against the debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is
                                                                                                         useful to the trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address
                                                                                                         of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See 11 U.S.C. § 112 and Fed. R. Bankr. P.
                                                                                                         1007(m). Do not include claims listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.
                                                                                                                    If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the
                                                                                                         appropriate schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether husband, wife, both of them, or the marital
                                                                                                         community may be liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community."

                                                                                                                   If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled
                                                                                                         "Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)

                                                                                                                   Report the total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the
                                                                                                         Summary of Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of Certain Liabilities and
                                                                                                         Related Data.
                                                                                                                  Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.
                                                                                                                                                                        HUSBAND, WIFE, JOINT




                                                                                                                                                                                                                                                           UNLIQUIDATED
                                                                                                                                                                          ORCOMMUNITY




                                                                                                                                                                                                                                              CONTINGENT
                                                                                                                                                                                                    DATE CLAIM WAS INCURRED AND
                                                                                                                                                             CODEBTOR




                                                                                                                    CREDITOR’S NAME,




                                                                                                                                                                                                                                                                          DISPUTED
                                                                                                                                                                                                      CONSIDERATION FOR CLAIM.                                                            AMOUNT
                                                                                                                     MAILING ADDRESS                                                                                                                                                        OF
                                                                                                                                                                                                    IF CLAIM IS SUBJECT TO SETOFF,
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                                                                                                                   INCLUDING ZIP CODE,                                                                                                                                                     CLAIM
                                                                                                                  AND ACCOUNT NUMBER                                                                           SO STATE.
                                                                                                                    (See instructions above.)

                                                                                                        ACCOUNT NO.                                                                            Incurred: 9/24/12
                                                                                                        Accelerated Technologies                                                               Consideration: Goods and services
                                                                                                        312 S Old Dixie Hwy, Suite 109                                                                                                                                                         3,543.64
                                                                                                        Jupiter, FL 33458



                                                                                                        ACCOUNT NO.                                                                            Incurred: 8/23/12
                                                                                                        Ace Business Forms                                                                     Consideration: Goods and services
                                                                                                        151 NW 108th                                                                                                                                                                               212.00
                                                                                                        Terrace Plantation, FL 33324



                                                                                                        ACCOUNT NO.                                                                            Incurred: various
                                                                                                        Akin Gump Strauss Hauer & Feld LLP                                                     Consideration: Legal Services
                                                                                                        Dept 7247-6827                                                                                                                                                                        23,023.15
                                                                                                        Philadelphia, PA 19170-6827



                                                                                                        ACCOUNT NO.                                                                            Incurred: 10/26/12
                                                                                                        ALS Laboratory Group                                                                   Consideration: Goods and services
                                                                                                        PO Box 975444                                                                                                                                                                              175.00
                                                                                                        Dallas, TX 75397-5444




                                                                                                              14
                                                                                                            _______continuation sheets attached                                                                                             Subtotal                                  $       26,953.79
                                                                                                                                                                                                                             Total                                                    $
                                                                                                                                                                             (Use only on last page of the completed Schedule F.)
                                                                                                                                                         (Report also on Summary of Schedules and, if applicable, on the Statistical
                                                                                                                                                                               Summary of Certain Liabilities and Related Data.)
                                                                                                                Case 12-46295-rfn11 Doc 70 Filed 03/01/13                                                        Entered 03/01/13 15:31:53                                            Page 2 of 15
                                                                                                        B6F (Official Form 6F) (12/07) - Cont.


                                                                                                                  Latitude Solutions, Inc.
                                                                                                          In re __________________________________________________,                                                                       12-46295-rfn-7
                                                                                                                                                                                                                               Case No. _________________________________
                                                                                                                                           Debtor                                                                                                                             (If known)


                                                                                                             SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                                                                                                  (Continuation Sheet)




                                                                                                                                                                   HUSBAND, WIFE, JOINT




                                                                                                                                                                                                                                                               UNLIQUIDATED
                                                                                                                                                                      ORCOMMUNITY




                                                                                                                                                                                                                                                  CONTINGENT
                                                                                                                   CREDITOR’S NAME,
                                                                                                                                                        CODEBTOR
                                                                                                                                                                                                    DATE CLAIM WAS INCURRED AND                                                               AMOUNT




                                                                                                                                                                                                                                                                               DISPUTED
                                                                                                                    MAILING ADDRESS
                                                                                                                                                                                                      CONSIDERATION FOR CLAIM.                                                                  OF
                                                                                                                  INCLUDING ZIP CODE,
                                                                                                                                                                                                    IF CLAIM IS SUBJECT TO SETOFF,                                                             CLAIM
                                                                                                                 AND ACCOUNT NUMBER
                                                                                                                   (See instructions above.)


                                                                                                        ACCOUNT NO.                                                                        Consideration: Expense reimbursement
                                                                                                        Brent Dooley                                                                       Former employee
                                                                                                        PO Box 141                                                                                                                                                                                524.01
                                                                                                        Eads, TN 38028
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                                                                                                        ACCOUNT NO.                                                                        Consideration: Lawsuit
                                                                                                        Buzzbahn, LLC
                                                                                                        c/o Lance H. Meyer, Esq., PLLC                                                                                                                         X X                                   0.00
                                                                                                        1111 Marcus Ave, Suite 107
                                                                                                        Lake Success, NY 11042


                                                                                                        ACCOUNT NO.                                                                        Incurred: 5/14/12
                                                                                                        Capital Growth                                                                     Consideration: Convertible note
                                                                                                        630 Germantown Pike                                                                                                                                                                    250,000.00
                                                                                                        Plymouth Meetin, PA 19462



                                                                                                        ACCOUNT NO.                                                                        Consideration: Lawsuit
                                                                                                        Carly Singer
                                                                                                        c/o Erika Deutsch Rotbart, Esq.                                                                                                                        X X                                   0.00
                                                                                                        Deutsch Rotbart & Associates PA
                                                                                                        4755 Technology Way, Suite 106
                                                                                                        Boca Raton, FL 33431

                                                                                                         ACCOUNT NO.                                                                       Incurred: 9/26/12
                                                                                                        Catalyst Design Services                                                           Consideration: Goods and services
                                                                                                        PO Box 82811                                                                                                                                                                                50.00
                                                                                                        Austin, TX 78708



                                                                                                                   1 of _____continuation
                                                                                                        Sheet no. _____    14               sheets attached                                                                                     Subtotal                                  $    250,574.01
                                                                                                        to Schedule of Creditors Holding Unsecured
                                                                                                        Nonpriority Claims                                                                                                                          Total                                 $
                                                                                                                                                                                                      (Use only on last page of the completed Schedule F.)
                                                                                                                                                                                          (Report also on Summary of Schedules and, if applicable, on the
                                                                                                                                                                                             Statistical Summary of Certain Liabilities and Related Data.)
                                                                                                                Case 12-46295-rfn11 Doc 70 Filed 03/01/13                                                        Entered 03/01/13 15:31:53                                            Page 3 of 15
                                                                                                        B6F (Official Form 6F) (12/07) - Cont.


                                                                                                                  Latitude Solutions, Inc.
                                                                                                          In re __________________________________________________,                                                                       12-46295-rfn-7
                                                                                                                                                                                                                               Case No. _________________________________
                                                                                                                                           Debtor                                                                                                                             (If known)


                                                                                                             SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                                                                                                  (Continuation Sheet)




                                                                                                                                                                   HUSBAND, WIFE, JOINT




                                                                                                                                                                                                                                                               UNLIQUIDATED
                                                                                                                                                                      ORCOMMUNITY




                                                                                                                                                                                                                                                  CONTINGENT
                                                                                                                   CREDITOR’S NAME,
                                                                                                                                                        CODEBTOR
                                                                                                                                                                                                    DATE CLAIM WAS INCURRED AND                                                                  AMOUNT




                                                                                                                                                                                                                                                                               DISPUTED
                                                                                                                    MAILING ADDRESS
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                                                                                                                  INCLUDING ZIP CODE,
                                                                                                                                                                                                    IF CLAIM IS SUBJECT TO SETOFF,                                                                CLAIM
                                                                                                                 AND ACCOUNT NUMBER
                                                                                                                   (See instructions above.)


                                                                                                        ACCOUNT NO.

                                                                                                        CenterPoint Energy
                                                                                                        PO Box 4671                                                                                                                                                                           Notice Only
                                                                                                        Houston, TX 77201
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                                                                                                        ACCOUNT NO.                                                                        Incurred: 8/7/12
                                                                                                        Central Arkansas Tool Supply, Inc.                                                 Consideration: Goods and services
                                                                                                        5099 Heber Springs Rd                                                                                                                                                                         140.78
                                                                                                        West Quitman, AR 72131



                                                                                                        ACCOUNT NO.                                                                        Incurred: 4/27/12
                                                                                                        City of Boca Raton                                                                 Consideration: Notice only
                                                                                                        Alarm Billing                                                                                                                                                                         Notice Only
                                                                                                        201 W Palmetto Park Rd
                                                                                                        Boca Raton, FL 33432


                                                                                                        ACCOUNT NO.                                                                        Incurred: 8/15/12
                                                                                                        Colorado Analytical                                                                Consideration: Goods and services
                                                                                                        PO Box 507                                                                                                                                                                                     60.00
                                                                                                        Brighton, CO 80601



                                                                                                         ACCOUNT NO.                                                                       Incurred: various
                                                                                                        Corporation Guarantee & Trust                                                      Consideration: Goods and services
                                                                                                        Company                                                                                                                                                                                       875.00
                                                                                                        3331 Street Rd
                                                                                                        Bensalem, PA 19020


                                                                                                                   2 of _____continuation
                                                                                                        Sheet no. _____    14               sheets attached                                                                                     Subtotal                                  $          1,075.78
                                                                                                        to Schedule of Creditors Holding Unsecured
                                                                                                        Nonpriority Claims                                                                                                                          Total                                 $
                                                                                                                                                                                                      (Use only on last page of the completed Schedule F.)
                                                                                                                                                                                          (Report also on Summary of Schedules and, if applicable, on the
                                                                                                                                                                                             Statistical Summary of Certain Liabilities and Related Data.)
                                                                                                                Case 12-46295-rfn11 Doc 70 Filed 03/01/13                                                        Entered 03/01/13 15:31:53                                            Page 4 of 15
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                                                                                                                  Latitude Solutions, Inc.
                                                                                                          In re __________________________________________________,                                                                       12-46295-rfn-7
                                                                                                                                                                                                                               Case No. _________________________________
                                                                                                                                           Debtor                                                                                                                             (If known)


                                                                                                             SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                                                                                                  (Continuation Sheet)




                                                                                                                                                                   HUSBAND, WIFE, JOINT




                                                                                                                                                                                                                                                               UNLIQUIDATED
                                                                                                                                                                      ORCOMMUNITY




                                                                                                                                                                                                                                                  CONTINGENT
                                                                                                                   CREDITOR’S NAME,
                                                                                                                                                        CODEBTOR
                                                                                                                                                                                                    DATE CLAIM WAS INCURRED AND                                                               AMOUNT




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                                                                                                                    MAILING ADDRESS
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                                                                                                                  INCLUDING ZIP CODE,
                                                                                                                                                                                                    IF CLAIM IS SUBJECT TO SETOFF,                                                             CLAIM
                                                                                                                 AND ACCOUNT NUMBER
                                                                                                                   (See instructions above.)


                                                                                                        ACCOUNT NO.                                                                        Incurred: various
                                                                                                        Crestmark Bank                                                                     Consideration: Line of credit
                                                                                                        Attn: Lockbox Dept - Latitude Energy                                                                                                                                                      4,242.12
                                                                                                        5480 Corporate Dr, Suite 350
                                                                                                        Troy, MI 48098
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                                                                                                        ACCOUNT NO.                                                                        Incurred: various
                                                                                                        DGS Properties, LLC                                                                Consideration: Office lease
                                                                                                        2401 NW Boca Raton Blvd, Suite 100                                                                                                                                                      20,881.28
                                                                                                        Boca Raton, FL 33431



                                                                                                        ACCOUNT NO.                                                                        Incurred: 5/21/12; 6/11/12
                                                                                                        Discretionary Investment Trust Account                                             Consideration: Convertible notes
                                                                                                        630 Germantown Pike                                                                                                                                                                    250,000.00
                                                                                                        Plymouth Meeting, PA 19462



                                                                                                        ACCOUNT NO.                                                                        Incurred: various
                                                                                                        DLA Piper                                                                          Consideration: Legal Services
                                                                                                        200 S Biscayne Blvd, Suite 2300                                                                                                                                                        761,260.14
                                                                                                        Miami, FL 33131-5342



                                                                                                         ACCOUNT NO.                                                                       Incurred: 8/28/09
                                                                                                        Douglas Neil Ferris                                                                Consideration: Convertible note
                                                                                                        and/or Maxine Ferris JTWROS                                                                                                                                                             15,261.00
                                                                                                        Box 4, Site 27
                                                                                                        Rocky Mountain House, Alberta
                                                                                                        Canada T4T2A2

                                                                                                                   3 of _____continuation
                                                                                                        Sheet no. _____    14               sheets attached                                                                                     Subtotal                                  $   1,051,644.54
                                                                                                        to Schedule of Creditors Holding Unsecured
                                                                                                        Nonpriority Claims                                                                                                                          Total                                 $
                                                                                                                                                                                                      (Use only on last page of the completed Schedule F.)
                                                                                                                                                                                          (Report also on Summary of Schedules and, if applicable, on the
                                                                                                                                                                                             Statistical Summary of Certain Liabilities and Related Data.)
                                                                                                                Case 12-46295-rfn11 Doc 70 Filed 03/01/13                                                        Entered 03/01/13 15:31:53                                            Page 5 of 15
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                                                                                                                  Latitude Solutions, Inc.
                                                                                                          In re __________________________________________________,                                                                       12-46295-rfn-7
                                                                                                                                                                                                                               Case No. _________________________________
                                                                                                                                           Debtor                                                                                                                             (If known)


                                                                                                             SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                                                                                                  (Continuation Sheet)




                                                                                                                                                                   HUSBAND, WIFE, JOINT




                                                                                                                                                                                                                                                               UNLIQUIDATED
                                                                                                                                                                      ORCOMMUNITY




                                                                                                                                                                                                                                                  CONTINGENT
                                                                                                                   CREDITOR’S NAME,
                                                                                                                                                        CODEBTOR
                                                                                                                                                                                                    DATE CLAIM WAS INCURRED AND                                                                  AMOUNT




                                                                                                                                                                                                                                                                               DISPUTED
                                                                                                                    MAILING ADDRESS
                                                                                                                                                                                                      CONSIDERATION FOR CLAIM.                                                                     OF
                                                                                                                  INCLUDING ZIP CODE,
                                                                                                                                                                                                    IF CLAIM IS SUBJECT TO SETOFF,                                                                CLAIM
                                                                                                                 AND ACCOUNT NUMBER
                                                                                                                   (See instructions above.)


                                                                                                        ACCOUNT NO.

                                                                                                        Entergy Arkansas, Inc.
                                                                                                        PO Box 8101                                                                                                                                                                           Notice Only
                                                                                                        Baton Rouge, LA 70891
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                                                                                                        ACCOUNT NO.                                                                        Consideration: Goods and services
                                                                                                        Evergreen Tank Solutions
                                                                                                        PO Box 840600                                                                                                                                                                                3,996.75
                                                                                                        Dallas, TX 75284-0600



                                                                                                        ACCOUNT NO.                                                                        Consideration: Goods and services
                                                                                                        Fas=Line Fluid Services, LLC
                                                                                                        PO Box 203187                                                                                                                                                                               11,666.00
                                                                                                        Dept 18705
                                                                                                        Dallas, TX 75320


                                                                                                        ACCOUNT NO.                                                                        Incurred: 10/18/12
                                                                                                        Fastenal Company                                                                   Consideration: Goods and services
                                                                                                        PO Box 1286                                                                                                                                                                                   288.81
                                                                                                        Winoma, MN 55987-1286



                                                                                                         ACCOUNT NO.                                                                       Incurred: 5/15/12; 6/22/12
                                                                                                        FEQ Realty                                                                         Consideration: Convertible notes
                                                                                                        24224 Kanis Rd                                                                                                                                                                            200,000.00
                                                                                                        Little Rock, AR 72223



                                                                                                                   4 of _____continuation
                                                                                                        Sheet no. _____    14               sheets attached                                                                                     Subtotal                                  $       215,951.56
                                                                                                        to Schedule of Creditors Holding Unsecured
                                                                                                        Nonpriority Claims                                                                                                                          Total                                 $
                                                                                                                                                                                                      (Use only on last page of the completed Schedule F.)
                                                                                                                                                                                          (Report also on Summary of Schedules and, if applicable, on the
                                                                                                                                                                                             Statistical Summary of Certain Liabilities and Related Data.)
                                                                                                                Case 12-46295-rfn11 Doc 70 Filed 03/01/13                                                        Entered 03/01/13 15:31:53                                            Page 6 of 15
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                                                                                                                  Latitude Solutions, Inc.
                                                                                                          In re __________________________________________________,                                                                       12-46295-rfn-7
                                                                                                                                                                                                                               Case No. _________________________________
                                                                                                                                           Debtor                                                                                                                             (If known)


                                                                                                             SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                                                                                                  (Continuation Sheet)




                                                                                                                                                                   HUSBAND, WIFE, JOINT




                                                                                                                                                                                                                                                               UNLIQUIDATED
                                                                                                                                                                      ORCOMMUNITY




                                                                                                                                                                                                                                                  CONTINGENT
                                                                                                                   CREDITOR’S NAME,
                                                                                                                                                        CODEBTOR
                                                                                                                                                                                                    DATE CLAIM WAS INCURRED AND                                                               AMOUNT




                                                                                                                                                                                                                                                                               DISPUTED
                                                                                                                    MAILING ADDRESS
                                                                                                                                                                                                      CONSIDERATION FOR CLAIM.                                                                  OF
                                                                                                                  INCLUDING ZIP CODE,
                                                                                                                                                                                                    IF CLAIM IS SUBJECT TO SETOFF,                                                             CLAIM
                                                                                                                 AND ACCOUNT NUMBER
                                                                                                                   (See instructions above.)


                                                                                                        ACCOUNT NO.                                                                        Incurred: 5/15/12
                                                                                                        Firodaliso LTD c/o North Atlantic SAM                                              Consideration: Convertible note
                                                                                                        Attn: Monica Grabovsek                                                                                                                                                                 250,000.00
                                                                                                        Le Patio Palace, 41 Ave Hector Otto
                                                                                                        Monaco, Principality of Monaco
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                                                                                                        ACCOUNT NO.                                                                        Incurred: various
                                                                                                        Florida Power & Light                                                              Consideration: Goods and services
                                                                                                        General Mail Facility                                                                                                                                                                     300.63
                                                                                                        Miami, FL 33188-0001



                                                                                                        ACCOUNT NO.                                                                        Consideration: Goods and services
                                                                                                        General Air
                                                                                                        1105 Zuni St                                                                                                                                                                             2,236.58
                                                                                                        Denver, CO 80204-3338



                                                                                                        ACCOUNT NO.                                                                        Incurred: 7/24/12
                                                                                                        Greg Bell Truck Services                                                           Consideration: Goods and services
                                                                                                        Dept 144                                                                                                                                                                                 2,376.00
                                                                                                        PO Box 1000
                                                                                                        Memphis, TN 38148-0144


                                                                                                         ACCOUNT NO.                                                                       Consideration: Office lease
                                                                                                        Harrison Business Park, LLC
                                                                                                        c/o Peak Commercial Properties                                                                                                                                                               0.00
                                                                                                        104 S Cascade, Suite 214
                                                                                                        Colorado Springs, CO 80903


                                                                                                                   5 of _____continuation
                                                                                                        Sheet no. _____    14               sheets attached                                                                                     Subtotal                                  $    254,913.21
                                                                                                        to Schedule of Creditors Holding Unsecured
                                                                                                        Nonpriority Claims                                                                                                                          Total                                 $
                                                                                                                                                                                                      (Use only on last page of the completed Schedule F.)
                                                                                                                                                                                          (Report also on Summary of Schedules and, if applicable, on the
                                                                                                                                                                                             Statistical Summary of Certain Liabilities and Related Data.)
                                                                                                                Case 12-46295-rfn11 Doc 70 Filed 03/01/13                                                        Entered 03/01/13 15:31:53                                            Page 7 of 15
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                                                                                                                  Latitude Solutions, Inc.
                                                                                                          In re __________________________________________________,                                                                       12-46295-rfn-7
                                                                                                                                                                                                                               Case No. _________________________________
                                                                                                                                           Debtor                                                                                                                             (If known)


                                                                                                             SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                                                                                                  (Continuation Sheet)




                                                                                                                                                                   HUSBAND, WIFE, JOINT




                                                                                                                                                                                                                                                               UNLIQUIDATED
                                                                                                                                                                      ORCOMMUNITY




                                                                                                                                                                                                                                                  CONTINGENT
                                                                                                                   CREDITOR’S NAME,
                                                                                                                                                        CODEBTOR
                                                                                                                                                                                                    DATE CLAIM WAS INCURRED AND                                                                AMOUNT




                                                                                                                                                                                                                                                                               DISPUTED
                                                                                                                    MAILING ADDRESS
                                                                                                                                                                                                      CONSIDERATION FOR CLAIM.                                                                   OF
                                                                                                                  INCLUDING ZIP CODE,
                                                                                                                                                                                                    IF CLAIM IS SUBJECT TO SETOFF,                                                              CLAIM
                                                                                                                 AND ACCOUNT NUMBER
                                                                                                                   (See instructions above.)


                                                                                                        ACCOUNT NO.                                                                        Incurred: various
                                                                                                        Healthcare Equipment Funding                                                       Consideration: Equipment lease
                                                                                                        1310 Madrid St, Suite 103                                                                                                                                                                      0.00
                                                                                                        Marshall, MN 56258
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                                                                                                        ACCOUNT NO.                                                                        Consideration: Goods and services
                                                                                                        iAnalyst, Inc.
                                                                                                        21 SE 1st Ave, 5th Floor                                                                                                                                                                   2,650.00
                                                                                                        Miami, FL 33131



                                                                                                        ACCOUNT NO.                                                                        Consideration: Contract claim - lawsuite
                                                                                                        IP Automation, Inc.                                                                pending
                                                                                                        2812 National Place                                                                Subject to setoff - Debtor has counterclaim
                                                                                                                                                                                                                                                               X X                             1,347,113.19
                                                                                                        Colorado Springs, CO 80906



                                                                                                        ACCOUNT NO.                                                                        Consideration: Goods and services
                                                                                                        Island Stock Transfer
                                                                                                        Roosevelt Office Ctr                                                                                                                                                                        550.00
                                                                                                        15500 Roosevelt Blvd, Suite 301
                                                                                                        Clearwater, FL 33760


                                                                                                         ACCOUNT NO.                                                                       Incurred: various
                                                                                                        Jabil Circuit, Inc.                                                                Consideration: Goods and services
                                                                                                        PO Box 70870                                                                                                                                                                           9,245,475.27
                                                                                                        Chicago, IL 606073-0870



                                                                                                                   6 of _____continuation
                                                                                                        Sheet no. _____    14               sheets attached                                                                                     Subtotal                                  $   10,595,788.46
                                                                                                        to Schedule of Creditors Holding Unsecured
                                                                                                        Nonpriority Claims                                                                                                                          Total                                 $
                                                                                                                                                                                                      (Use only on last page of the completed Schedule F.)
                                                                                                                                                                                          (Report also on Summary of Schedules and, if applicable, on the
                                                                                                                                                                                             Statistical Summary of Certain Liabilities and Related Data.)
                                                                                                                Case 12-46295-rfn11 Doc 70 Filed 03/01/13                                                        Entered 03/01/13 15:31:53                                            Page 8 of 15
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                                                                                                                  Latitude Solutions, Inc.
                                                                                                          In re __________________________________________________,                                                                       12-46295-rfn-7
                                                                                                                                                                                                                               Case No. _________________________________
                                                                                                                                           Debtor                                                                                                                             (If known)


                                                                                                             SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                                                                                                  (Continuation Sheet)




                                                                                                                                                                   HUSBAND, WIFE, JOINT




                                                                                                                                                                                                                                                               UNLIQUIDATED
                                                                                                                                                                      ORCOMMUNITY




                                                                                                                                                                                                                                                  CONTINGENT
                                                                                                                   CREDITOR’S NAME,
                                                                                                                                                        CODEBTOR
                                                                                                                                                                                                    DATE CLAIM WAS INCURRED AND                                                               AMOUNT




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                                                                                                                    MAILING ADDRESS
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                                                                                                                  INCLUDING ZIP CODE,
                                                                                                                                                                                                    IF CLAIM IS SUBJECT TO SETOFF,                                                             CLAIM
                                                                                                                 AND ACCOUNT NUMBER
                                                                                                                   (See instructions above.)


                                                                                                        ACCOUNT NO.                                                                        Incurred: 8/25/09
                                                                                                        James S Shaver &                                                                   Consideration: Convertible note
                                                                                                        Ann M Shaver JTWOS                                                                                                                                                                      10,000.00
                                                                                                        908 Riverbend Rd
                                                                                                        Clinton, TX 37716
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                                                                                                        ACCOUNT NO.                                                                        Incurred: 11/1/12
                                                                                                        Jay Young Enterprises                                                              Consideration: Commission
                                                                                                        PO Box 1711                                                                                                                                                                             20,133.00
                                                                                                        Odessa, TX 79760



                                                                                                        ACCOUNT NO.                                                                        Incurred: 7/1/12 - 8/31/12
                                                                                                        Jeffrey A. Wohler                                                                  Consideration: Consulting
                                                                                                        1740 Birchwood Drive                                                                                                                                                                    42,500.00
                                                                                                        San Marcos, CA 924062



                                                                                                        ACCOUNT NO.                                                                        Incurred: 1/4/12
                                                                                                        Jeffrey Wohler                                                                     Consideration: Convertible note
                                                                                                        3500 W Seventh St                                                                                                                                                                       50,000.00
                                                                                                        Fort Worth, TX 76107



                                                                                                         ACCOUNT NO.                                                                       Incurred: 9/4/09; 9/25/09
                                                                                                        John D. Brown                                                                      Consideration: Convertible notes
                                                                                                        104 Oakwood Place                                                                                                                                                                       20,000.00
                                                                                                        Emmittsburg, IA 50536



                                                                                                                   7 of _____continuation
                                                                                                        Sheet no. _____    14               sheets attached                                                                                     Subtotal                                  $    142,633.00
                                                                                                        to Schedule of Creditors Holding Unsecured
                                                                                                        Nonpriority Claims                                                                                                                          Total                                 $
                                                                                                                                                                                                      (Use only on last page of the completed Schedule F.)
                                                                                                                                                                                          (Report also on Summary of Schedules and, if applicable, on the
                                                                                                                                                                                             Statistical Summary of Certain Liabilities and Related Data.)
                                                                                                                Case 12-46295-rfn11 Doc 70 Filed 03/01/13                                                        Entered 03/01/13 15:31:53                                            Page 9 of 15
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                                                                                                                  Latitude Solutions, Inc.
                                                                                                          In re __________________________________________________,                                                                       12-46295-rfn-7
                                                                                                                                                                                                                               Case No. _________________________________
                                                                                                                                           Debtor                                                                                                                             (If known)


                                                                                                             SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                                                                                                  (Continuation Sheet)




                                                                                                                                                                   HUSBAND, WIFE, JOINT




                                                                                                                                                                                                                                                               UNLIQUIDATED
                                                                                                                                                                      ORCOMMUNITY




                                                                                                                                                                                                                                                  CONTINGENT
                                                                                                                   CREDITOR’S NAME,
                                                                                                                                                        CODEBTOR
                                                                                                                                                                                                    DATE CLAIM WAS INCURRED AND                                                               AMOUNT




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                                                                                                                  INCLUDING ZIP CODE,
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                                                                                                                 AND ACCOUNT NUMBER
                                                                                                                   (See instructions above.)


                                                                                                        ACCOUNT NO.                                                                        Consideration: Goods and services
                                                                                                        Keathley-Patterson Electric
                                                                                                        604 E Booth Ave                                                                                                                                                                             0.00
                                                                                                        Searcy, AR 72143
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                                                                                                        ACCOUNT NO.                                                                        Incurred: various
                                                                                                        Ken M. Link                                                                        Consideration: Office lease
                                                                                                        3500 W Seventh St                                                                                                                                                                      55,885.00
                                                                                                        Fort Worth, TX 76107



                                                                                                        ACCOUNT NO.                                                                        Incurred: various
                                                                                                        LABLynx, Inc.                                                                      Consideration: Goods and services
                                                                                                        PO Box 724207                                                                                                                                                                           3,150.00
                                                                                                        Atlanta, GA 31139



                                                                                                        ACCOUNT NO.                                                                        Incurred: 8/30/12
                                                                                                        Lake Shore International, LTD                                                      Consideration: Goods and services
                                                                                                        1405 Ostrander Ave                                                                                                                                                                        86.00
                                                                                                        Lagrange Park, IL 60526



                                                                                                         ACCOUNT NO.                                                                       Incurred: various
                                                                                                        Lewis & Rost                                                                       Consideration: Goods and services
                                                                                                        8400 E Prentice Ave, #1040                                                                                                                                                             22,664.00
                                                                                                        Greewood Village, CO 80111-2922



                                                                                                                   8 of _____continuation
                                                                                                        Sheet no. _____    14               sheets attached                                                                                     Subtotal                                  $    81,785.00
                                                                                                        to Schedule of Creditors Holding Unsecured
                                                                                                        Nonpriority Claims                                                                                                                          Total                                 $
                                                                                                                                                                                                      (Use only on last page of the completed Schedule F.)
                                                                                                                                                                                          (Report also on Summary of Schedules and, if applicable, on the
                                                                                                                                                                                             Statistical Summary of Certain Liabilities and Related Data.)
                                                                                                               Case 12-46295-rfn11 Doc 70 Filed 03/01/13                                                        Entered 03/01/13 15:31:53                                          Page 10 of 15
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                                                                                                                  Latitude Solutions, Inc.
                                                                                                          In re __________________________________________________,                                                                       12-46295-rfn-7
                                                                                                                                                                                                                               Case No. _________________________________
                                                                                                                                           Debtor                                                                                                                             (If known)


                                                                                                             SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                                                                                                  (Continuation Sheet)




                                                                                                                                                                   HUSBAND, WIFE, JOINT




                                                                                                                                                                                                                                                               UNLIQUIDATED
                                                                                                                                                                      ORCOMMUNITY




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                                                                                                                                                                                                    DATE CLAIM WAS INCURRED AND                                                               AMOUNT




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                                                                                                                 AND ACCOUNT NUMBER
                                                                                                                   (See instructions above.)


                                                                                                        ACCOUNT NO.                                                                        Incurred: various
                                                                                                        LuminUltra Technologies, LTD                                                       Consideration: Goods and services
                                                                                                        520 King St                                                                                                                                                                             2,423.63
                                                                                                        Fredericton, New Brunswick
                                                                                                        Canada E3B 6G3
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                                                                                                        ACCOUNT NO.                                                                        Consideration: Goods and services
                                                                                                        Magnified Imaging solutions
                                                                                                        7037 NW 88th Ave                                                                                                                                                                            0.00
                                                                                                        Tamarac, FL 33321



                                                                                                        ACCOUNT NO.                                                                        Incurred: 9/27/12
                                                                                                        Meurer Research, Inc.                                                              Consideration: Goods and services
                                                                                                        6270 Joyce Dr                                                                                                                                                                           2,000.00
                                                                                                        Golden, CO 80403



                                                                                                        ACCOUNT NO.                                                                        Incurred: various
                                                                                                        Michael A. Littman                                                                 Consideration: Goods and services
                                                                                                        7609 Ralston Rd                                                                                                                                                                        10,054.00
                                                                                                        Arvada, CO 80002



                                                                                                         ACCOUNT NO.                                                                       Incurred: 12/14/10
                                                                                                        Michael Moe                                                                        Consideration: Convertible note
                                                                                                        5741 Whispering Willow Way                                                                                                                                                              1,000.00
                                                                                                        Ft. Meyers, FL 33908



                                                                                                                   9 of _____continuation
                                                                                                        Sheet no. _____    14               sheets attached                                                                                     Subtotal                                  $    15,477.63
                                                                                                        to Schedule of Creditors Holding Unsecured
                                                                                                        Nonpriority Claims                                                                                                                          Total                                 $
                                                                                                                                                                                                      (Use only on last page of the completed Schedule F.)
                                                                                                                                                                                          (Report also on Summary of Schedules and, if applicable, on the
                                                                                                                                                                                             Statistical Summary of Certain Liabilities and Related Data.)
                                                                                                               Case 12-46295-rfn11 Doc 70 Filed 03/01/13                                                        Entered 03/01/13 15:31:53                                          Page 11 of 15
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                                                                                                                  Latitude Solutions, Inc.
                                                                                                          In re __________________________________________________,                                                                       12-46295-rfn-7
                                                                                                                                                                                                                               Case No. _________________________________
                                                                                                                                           Debtor                                                                                                                             (If known)


                                                                                                             SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                                                                                                  (Continuation Sheet)




                                                                                                                                                                   HUSBAND, WIFE, JOINT




                                                                                                                                                                                                                                                               UNLIQUIDATED
                                                                                                                                                                      ORCOMMUNITY




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                                                                                                                   CREDITOR’S NAME,
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                                                                                                                 AND ACCOUNT NUMBER
                                                                                                                   (See instructions above.)


                                                                                                        ACCOUNT NO.                                                                        Incurred: various
                                                                                                        ModernTech                                                                         Consideration: Goods and services
                                                                                                        1626 Downtown West Blvd                                                                                                                                                                  6,630.30
                                                                                                        Knoxville, TN 37919
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                                                                                                        ACCOUNT NO.                                                                        Incurred: 5/18/12
                                                                                                        Moonlight Enterprises                                                              Consideration: Convertible note
                                                                                                        c/o North Atlantic SAM                                                                                                                                                                 250,000.00
                                                                                                        Attn: Monica Grabovsek
                                                                                                        Le Patio Palace, 41 Ave Hector Otto
                                                                                                        Monaco, Principality of Monaco

                                                                                                        ACCOUNT NO.                                                                        Consideration: Office lease
                                                                                                        MRK Acquisition, Inc.
                                                                                                        190 NW Spanish River Blvd, Suite 100                                                                                                                                                    19,344.00
                                                                                                        Boca Raton, FL 33431



                                                                                                        ACCOUNT NO.                                                                        Consideration: Equipment lease
                                                                                                        NFS Leasing
                                                                                                        900 Cummings Ctr, Suite 309-V                                                                                                                                                            4,991.36
                                                                                                        Beverly, MA 01915



                                                                                                         ACCOUNT NO.                                                                       Incurred: various
                                                                                                        Nixon & Vanderhye, P.C.                                                            Consideration: Goods and services
                                                                                                        901 Glebe Rd                                                                                                                                                                             6,487.50
                                                                                                        Arlington, VA 22203



                                                                                                                   10 of _____continuation
                                                                                                        Sheet no. _____    14               sheets attached                                                                                     Subtotal                                  $    287,453.16
                                                                                                        to Schedule of Creditors Holding Unsecured
                                                                                                        Nonpriority Claims                                                                                                                          Total                                 $
                                                                                                                                                                                                      (Use only on last page of the completed Schedule F.)
                                                                                                                                                                                          (Report also on Summary of Schedules and, if applicable, on the
                                                                                                                                                                                             Statistical Summary of Certain Liabilities and Related Data.)
                                                                                                               Case 12-46295-rfn11 Doc 70 Filed 03/01/13                                                        Entered 03/01/13 15:31:53                                          Page 12 of 15
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                                                                                                                  Latitude Solutions, Inc.
                                                                                                          In re __________________________________________________,                                                                       12-46295-rfn-7
                                                                                                                                                                                                                               Case No. _________________________________
                                                                                                                                           Debtor                                                                                                                             (If known)


                                                                                                             SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                                                                                                  (Continuation Sheet)




                                                                                                                                                                   HUSBAND, WIFE, JOINT




                                                                                                                                                                                                                                                               UNLIQUIDATED
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                                                                                                                 AND ACCOUNT NUMBER
                                                                                                                   (See instructions above.)


                                                                                                        ACCOUNT NO.                                                                        Incurred: 10/22/12
                                                                                                        North Texas Tollway Authority                                                      Consideration: Goods and services
                                                                                                        PO Box 660244                                                                                                                                                                              47.47
                                                                                                        Dallas, TX 75266
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                                                                                                        ACCOUNT NO.                                                                        Incurred: 8/23/12
                                                                                                        Office Depot                                                                       Consideration: Goods and services
                                                                                                                                                                                                                                                                                                  196.13




                                                                                                        ACCOUNT NO.                                                                        Consideration: Goods and services
                                                                                                        Permian Machinery Movers
                                                                                                        PO Box 11281                                                                                                                                                                            1,017.87
                                                                                                        Odessa, TX 79760-8281



                                                                                                        ACCOUNT NO.                                                                        Incurred: various
                                                                                                        Phillips, Cantor & Shalek, P.A.                                                    Consideration: Goods and services
                                                                                                        4000 Hollywood Blvd, Suite 500                                                                                                                                                          1,905.76
                                                                                                        North Hollywood, FL 33021



                                                                                                         ACCOUNT NO.                                                                       Incurred: 10/3/12
                                                                                                        Pitney Bowes                                                                       Consideration: Goods and services
                                                                                                        1 Elmcroft Rd                                                                                                                                                                              74.97
                                                                                                        Stamford, CT 06926



                                                                                                                   11 of _____continuation
                                                                                                        Sheet no. _____    14               sheets attached                                                                                     Subtotal                                  $     3,242.20
                                                                                                        to Schedule of Creditors Holding Unsecured
                                                                                                        Nonpriority Claims                                                                                                                          Total                                 $
                                                                                                                                                                                                      (Use only on last page of the completed Schedule F.)
                                                                                                                                                                                          (Report also on Summary of Schedules and, if applicable, on the
                                                                                                                                                                                             Statistical Summary of Certain Liabilities and Related Data.)
                                                                                                               Case 12-46295-rfn11 Doc 70 Filed 03/01/13                                                        Entered 03/01/13 15:31:53                                          Page 13 of 15
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                                                                                                                  Latitude Solutions, Inc.
                                                                                                          In re __________________________________________________,                                                                       12-46295-rfn-7
                                                                                                                                                                                                                               Case No. _________________________________
                                                                                                                                           Debtor                                                                                                                             (If known)


                                                                                                             SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                                                                                                  (Continuation Sheet)




                                                                                                                                                                   HUSBAND, WIFE, JOINT




                                                                                                                                                                                                                                                               UNLIQUIDATED
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                                                                                                                                                                                                    DATE CLAIM WAS INCURRED AND                                                               AMOUNT




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                                                                                                                                                                                                    IF CLAIM IS SUBJECT TO SETOFF,                                                             CLAIM
                                                                                                                 AND ACCOUNT NUMBER
                                                                                                                   (See instructions above.)


                                                                                                        ACCOUNT NO.                                                                        Incurred: various
                                                                                                        Porter Hedges LLP                                                                  Consideration: Legal Services
                                                                                                        Dept 510                                                                                                                                                                               10,507.10
                                                                                                        PO Box 4346
                                                                                                        Houston, TX 77210-4346
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                                                                                                        ACCOUNT NO.                                                                        Incurred: various
                                                                                                        PR Newswire                                                                        Consideration: Goods and services
                                                                                                        GPO Box 5897                                                                                                                                                                            2,925.50
                                                                                                        New York, NY 10087-5897



                                                                                                        ACCOUNT NO.                                                                        Incurred: 8/14/12
                                                                                                        ShredAssured, Inc.                                                                 Consideration: Goods and services
                                                                                                        PO Box 213321                                                                                                                                                                              35.00
                                                                                                        Royal Palm Beach, FL 33421



                                                                                                        ACCOUNT NO.                                                                        Incurred: 8/13/12
                                                                                                        Sigma Aldrich                                                                      Consideration: Goods and services
                                                                                                        PO Box 535182                                                                                                                                                                             204.43
                                                                                                        Atlanta, GA 30352



                                                                                                         ACCOUNT NO.                                                                       Incurred: various
                                                                                                        Southern Tire Mart                                                                 Consideration: Goods and services
                                                                                                        PO Box 1000, Dept 143                                                                                                                                                                   2,376.19
                                                                                                        Memphis, TN 38148-0143



                                                                                                                   12 of _____continuation
                                                                                                        Sheet no. _____    14               sheets attached                                                                                     Subtotal                                  $    16,048.22
                                                                                                        to Schedule of Creditors Holding Unsecured
                                                                                                        Nonpriority Claims                                                                                                                          Total                                 $
                                                                                                                                                                                                      (Use only on last page of the completed Schedule F.)
                                                                                                                                                                                          (Report also on Summary of Schedules and, if applicable, on the
                                                                                                                                                                                             Statistical Summary of Certain Liabilities and Related Data.)
                                                                                                               Case 12-46295-rfn11 Doc 70 Filed 03/01/13                                                        Entered 03/01/13 15:31:53                                          Page 14 of 15
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                                                                                                                  Latitude Solutions, Inc.
                                                                                                          In re __________________________________________________,                                                                       12-46295-rfn-7
                                                                                                                                                                                                                               Case No. _________________________________
                                                                                                                                           Debtor                                                                                                                             (If known)


                                                                                                             SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                                                                                                  (Continuation Sheet)




                                                                                                                                                                   HUSBAND, WIFE, JOINT




                                                                                                                                                                                                                                                               UNLIQUIDATED
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                                                                                                                                                                                                    DATE CLAIM WAS INCURRED AND                                                                  AMOUNT




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                                                                                                                 AND ACCOUNT NUMBER
                                                                                                                   (See instructions above.)


                                                                                                        ACCOUNT NO.                                                                        Incurred: various
                                                                                                        Technology Laboratory, Inc.                                                        Consideration: Goods and services
                                                                                                        PO Box 272271                                                                                                                                                                                1,873.00
                                                                                                        Fort Collins, CO 80527-2271
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                                                                                                        ACCOUNT NO.                                                                        Incurred: 10/26/12
                                                                                                        Texas Tollways                                                                     Consideration: Goods and services
                                                                                                        PO Box 650749                                                                                                                                                                                  32.61
                                                                                                        Dallas, TX 75265-0749



                                                                                                        ACCOUNT NO.                                                                        Incurred: various
                                                                                                        Thompson Reuters (Markets) LLC                                                     Consideration: Goods and services
                                                                                                        PO Box 5136                                                                                                                                                                                  2,154.92
                                                                                                        Carol Stream, IL 60197-5136



                                                                                                        ACCOUNT NO.

                                                                                                        US Securities & Exchange Commission
                                                                                                        100 F St, NE                                                                                                                                                                          Notice Only
                                                                                                        Washington, DC 20549



                                                                                                         ACCOUNT NO.                                                                       Incurred: 11/1/12
                                                                                                        Vapor Solutions, Inc.
                                                                                                        3500 W Seventh St                                                                                                                                                                           98,200.93
                                                                                                        Fort Worth, TX 76107



                                                                                                                   13 of _____continuation
                                                                                                        Sheet no. _____    14               sheets attached                                                                                     Subtotal                                  $       102,261.46
                                                                                                        to Schedule of Creditors Holding Unsecured
                                                                                                        Nonpriority Claims                                                                                                                          Total                                 $
                                                                                                                                                                                                      (Use only on last page of the completed Schedule F.)
                                                                                                                                                                                          (Report also on Summary of Schedules and, if applicable, on the
                                                                                                                                                                                             Statistical Summary of Certain Liabilities and Related Data.)
                                                                                                               Case 12-46295-rfn11 Doc 70 Filed 03/01/13                                                        Entered 03/01/13 15:31:53                                          Page 15 of 15
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                                                                                                                  Latitude Solutions, Inc.
                                                                                                          In re __________________________________________________,                                                                       12-46295-rfn-7
                                                                                                                                                                                                                               Case No. _________________________________
                                                                                                                                           Debtor                                                                                                                             (If known)


                                                                                                             SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                                                                                                  (Continuation Sheet)




                                                                                                                                                                   HUSBAND, WIFE, JOINT




                                                                                                                                                                                                                                                               UNLIQUIDATED
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                                                                                                                 AND ACCOUNT NUMBER
                                                                                                                   (See instructions above.)


                                                                                                        ACCOUNT NO.                                                                        Incurred: 10/15/12
                                                                                                        Walsh Environmental                                                                Consideration: Goods and services
                                                                                                        4888 Pearl East Circle, Suite 108                                                                                                                                                           650.00
                                                                                                        Boulder, CO 80301
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                                                                                                        ACCOUNT NO.                                                                        Incurred: 11/1/12
                                                                                                        Water the World
                                                                                                        3500 W Seventh St                                                                                                                                                                          7,318.42
                                                                                                        Fort Worth, TX 76107



                                                                                                        ACCOUNT NO.                                                                        Incurred: 7/9/10
                                                                                                        Wilhelm Charitable Remainder Trust                                                 Consideration: Convertible note
                                                                                                        c/o Steele Street Bank & Trust                                                                                                                                                           10,000.00
                                                                                                        55 Adams St
                                                                                                        Denver, CO 80210


                                                                                                        ACCOUNT NO.                                                                        Consideration: Goods and services
                                                                                                        Windstream Communications
                                                                                                        PO Box 580451                                                                                                                                                                                  0.00
                                                                                                        Charlotte, NC 28258-0451



                                                                                                         ACCOUNT NO.                                                                       Incurred: various
                                                                                                        Zephyrhills Direct                                                                 Consideration: Goods and services
                                                                                                        PO Box 856680                                                                                                                                                                                74.18
                                                                                                        Louisville, KY 40285-6680



                                                                                                                   14 of _____continuation
                                                                                                        Sheet no. _____    14               sheets attached                                                                                     Subtotal                                  $      18,042.60
                                                                                                        to Schedule of Creditors Holding Unsecured
                                                                                                        Nonpriority Claims                                                                                                                          Total                                 $   13,063,844.62
                                                                                                                                                                                                      (Use only on last page of the completed Schedule F.)
                                                                                                                                                                                          (Report also on Summary of Schedules and, if applicable, on the
                                                                                                                                                                                             Statistical Summary of Certain Liabilities and Related Data.)
